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                         UNITED STATES DISTRICT COURT
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  JAN 1 s ion            EASTERN DISTRICT OF MISSOURI
 u.s. District court
Eastern District ot MO         SAINT LOUIS DIVISION


    Rayfield J. Thibeaux


    Plaintiff                                 Case No.


    V.


    Terry M. Stradtman,Regional Commissioner,Social Security Administration;


    Rebekah E. Gee, Louisiana Department of Health and Hospitals;and


    Burl Cain, Louisiana Department of Corrections at Dixon Correctional

    Institute


    Defendants.




    Address of Plaintiff: 4579 Laclede Avenue,Saint Louis M0,631°08
                             _.Sox* !Bf
    Address of the Commisioner:8645 West Chester Pike, Upper darby,PA

    19082;


    Address of the Louisiana Secretary Of Health:628 North      4th   Street, Baton

    Rouge, LA 70802;
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I       Address of the Warden: 5568 Highway 88, Jackson, LA 70748.

\                              JURISDICTION OF THE COURT


        This complaint arises out of the violation of my Fourth and Eight

        Amendment rights to the United States Constitution and Title 42 U.S.C.

        1983.

                                         COMPLAINT


         I filed for social security disability in 2010 based on the fact that I have an

        electronic sensor implanted in the left cheek of my rectum. The invention is

        a modified version of the Telemedicine instrumentation pack (see appendix

        B).That invention was first and constructed to monitor astronauts health in

        space. The invention was then modified to pick up the frequency of the

        body,being between 20Hz to 1,500 Hz, by using milled lead crystal glass

        and fiber optics. The fiber optics is covered with the milled glass and

        fashioned into a spring·, as seen in appendix's C, and coated with a fiber

        armored coating ,which makes it a sensor cable.


                The social Security Administration disregarded my true disability and

        gave me the disability of a schizophrenic, see appendix A page 3 .

                Warden Burl Cain illegally allowed doctors and/or medics from the

        Eastern Louisiana Mental Health Systems to enter the prison grounds
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unnoticed and implanted the device into my rectum. The hospital is located

two miles from the prison. The code to access the instrumentation was

given to the prison guards ,then to the public,and for this I suffer.see

Appendix E & F


   The Louisiana Department of Health and Hospitals is aware of this

crime ,but will not do anything to stop it.see the provision on forensic

services Appendix D.


  The Social Security Administration has firsthand knowledge of this matter

but shows deliberate indifferent .see appendix A.


  A complaint was filed in the United States District Court for the District of

Columbia; Thibeaux V. Social Security Administration;12-CV-1588. See

appendix A.


Money damages:


The plaintiff claims both or either actual and punitive damages.


Plaintiff maintain that the wrongs alleged in the complaint are continuing to

accur at this present time.
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IdJ



       I declare under penalty of perjury that the foregoing is true and correct.




      Signed this 18 day of January 2017.




      Rayfield J. Thibeaux
